           Case 1:20-cv-10617-WGY Document 292 Filed 09/08/20 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
MARIA ALEJANDRA CELIMEN SAVINO             )
and JULIO CESAR MEDEIROS NEVES,            )
                                           )
Petitioners-Plaintiffs,                   )
                                          )   20-cv-10617 WGY
       v.                                 )
                                          )
STEVEN SOUZA,                             )
                                          )
       Respondent-Defendant.              )
__________________________________________)


                        DEFENDANT’S ASSENTED-TO MOTION
                      FOR LEAVE TO TRANSFER OUT OF BRISTOL

       Respondent-Defendant hereby moves for leave to transfer MARCO BATTISTOTTI out

of the Bristol County House of Corrections to the Plymouth County House of Corrections during

the week of September 8, 2020. He has been tested for COVID-19 using an FDA-approved RT-

PCR test received negative results. 1 Mr. Battistotti has requested the transfer and his counsel

assents to this motion.

       Although the transfer is not for removal purposes, both Defendant and Plaintiffs agree

that it is advisable and in their respective interests. Therefore, it is urged that the Court approve

the transfer. With this transfer, the number of immigration detainees remaining at Bristol County




       1
          FDA has approved a number of vendors’ tests on an interim basis pursuant to what it
calls an Emergency Use Authorization or “EUA.” Upon information and belief, this is a fast-
track review process that does not lead to a complete approval, but instead a temporary
emergency approval in light of the pandemic. See, e.g., https://www.fda.gov/emergency-
preparedness-and-response/mcm-legal-regulatory-and-policy-framework/emergency-use-
authorization (accessed 5/28/20). Defendants understand the Court’s order to include EUA-
approved tests as acceptable.
         Case 1:20-cv-10617-WGY Document 292 Filed 09/08/20 Page 2 of 2




House of Corrections will be 37.

                                                       Respectfully submitted,

                                                       ANDREW E. LELLING,
                                                       United States Attorney


                                                 By:   /s/ Thomas E. Kanwit
                                                       Thomas E. Kanwit
                                                       Michael Sady
                                                       Assistant U.S. Attorneys
                                                       U.S. Attorney’s Office
                                                       John J. Moakley U.S. Courthouse
                                                       1 Courthouse Way, Suite 9200
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       September 8 2020                                thomas.kanwit@usdoj.gov




                        CERTIFICATE OF SERVICE/CONSULTATION

         I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF). I further certify
that I have consulted with opposing counsel in an effort to resolve the issue presented herein.

                                                       /s/ Thomas E. Kanwit
Dated: September 8, 2020                               Thomas E. Kanwit
